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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

   UNITED STATES OF AMERICA

                          Plaintiff,                   Case No. 11‐CR‐20551
                                                       HON. ROBERT H. CLELAND
   ‐v‐

   DR. ADELFO PAMATMAT, M.D. (D‐18),

                          Defendant.

   Patrick M. Cleary, PC                               The Landau Group, PC
   Patrick M. Cleary                                   Kevin A. Landau (P65601)
   43494 Woodward Ave., Ste. 203                       Arthur H. Landau (P16381)
   Bloomfield Hills, Michigan 48302                    38500 Woodward Ave., Ste. 310
   O: 248.335.7890                                     Bloomfield Hills, Michigan 48304
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      ORDER HOLDING IN ABEYANCE MOTION FOR SUBSTITUTION OF COUNSEL

            This matter having come before this Court pursuant to the stipulation of

   predecessor counsel for Defendant Adelfo Pamatmat (Defendant No. 18),

            IT IS HEREBY ORDERED that the request of Kevin Landau and Arthur

   Landau of The Landau Group, PC to substitute as counsel for Defendant in place of

   Patrick M. Cleary and Patrick M. Cleary, PC., is hereby HELD IN ABEYANCE pending

   the presentation of a written certification, to be filed not later than July 11 at 12:00

   p.m., that the following conditions have been met:

         1. That proposed substitute counsel are both fully familiar with the case, and

            have reviewed all voluntary discovery thus far provided to Mr. Clearly, and
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      2. That proposed substitute counsel are fully prepared to proceed, either to

          enter a negotiated guilty plea or to trial, without any delay or need for

          extension of time, and

      3. That in preparation for the final pretrial/change of plea hearing set to occur

          on July 16, proposed substitute counsel have received a copy of the

          Government’s proposed Rule 11 plea agreement, are fully acquainted with

          the same, and that one or both have discussed the proposal fully with the

          defendant.

          If the conditions are met and substitution is permitted, Patrick M. Cleary

   would be relieved from any further responsibility in the above‐entitled matter.


   Dated: July 10, 2014
                                              _s/Robert H. Cleland
                                              HONORABLE ROBERT H. CLELAND
